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                                                         1    JOHN R. HILLSMAN (SBN 71220)
                                                         2
                                                              jrhillsman@mhpsf.com
                                                              McGuinn, Hillsman & Palefsky
                                                         3    535 Pacific Avenue, Suite 100
                                                         4    San Francisco, CA 94133
                                                              Telephone: (415) 421-9292
                                                         5    Facsimile: (415) 403-0202
                                                         6
                                                              Attorneys for the Plaintiffs
                                                         7
                                                         8
                                                                                         UNITED STATES DISTRICT COURT
                                                         9
                                                         10                            CENTRAL DISTRICT OF CALIFORNIA
                                                         11
                                                         12    LYNN BROOKS,                )               Case No. 8:19-cv-01314 JVS (JDEx)
                                                         13
                                                                                           )
                                                               individually, and as Personal
McGuinn, Hillsman & Palefsky




                                                               Representative of the Estate)
                               San Francisco, CA 94133




                                                         14    of HOWARD WELDON,           )
                                  535 Pacific Avenue

                                    (415) 421-9292




                                                               Deceased, and ANDREW        )               ORDER CONTINUING THE
                                                         15                                                AUGUST 26, 2019 RULE 26(f)
                                                               WELDON,                     )
                                                         16                                )               SCHEDULING CONFERENCE
                                                         17                 Plaintiffs,    )
                                                                     vs.                   )               NEW DATE: OCTOBER 28, 2019
                                                         18                                )               TIME: 10:30 a. m.
                                                         19    PADI WORLDWIDE              )               LOCATION: Courtroom 10C
                                                               CORP., a California         )
                                                         20
                                                               Corporation;                )
                                                         21    PROFESSIONAL                )
                                                               ASSOCIATION OF              )
                                                         22
                                                               DIVING INSTRUCTORS, a )
                                                         23    California Corporation; and )
                                                               DIVING SCIENCE &            )
                                                         24
                                                               TECHNOLOGY CORP., a         )
                                                         25    California Corporation,     )
                                                         26                                )
                                                                            Defendants.    )
                                                         27    ________________________
                                                         28


                                                              _______________________________________________
                                                              [Proposed] Order Continuing August 26, 2019 Scheduling Conference                1
                                                    Case 8:19-cv-01314-JVS-JDE Document 24 Filed 08/22/19 Page 2 of 2 Page ID #:226



                                                         1            The parties’ Stipulation Continuing the August 26, 2019 Rule 26(f)
                                                         2    Scheduling Conference having been reviewed and considered, and good cause
                                                         3
                                                              appearing therefor:
                                                         4
                                                                      IT IS HEREBY ORDERED that the Rule 26(f) Scheduling Conference herein
                                                         5
                                                              initially set for August 26, 2019 be, and hereby is, continued to Monday, October
                                                         6
                                                         7    28, 2019, at 10:30 a.m.
                                                         8            IT IS FURTHER ORDERED AS FOLLOWS:
                                                         9
                                                         10
                                                         11
                                                              DATED: August 22, 2019                           _________________________________
                                                         12
                                                                                                               HON. JAMES V. SELNA
                                                         13                                                    United States District Judge
McGuinn, Hillsman & Palefsky

                               San Francisco, CA 94133




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                                  535 Pacific Avenue

                                    (415) 421-9292




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                                                              [Proposed] Order Continuing August 26, 2019 Scheduling Conference                    2
